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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                      )
                                               )
       Plaintiff,                              )
                                               )
       v.                                      )       Case No. 03-cr-40079-JPG
                                               )
CHARLES R. LOGSDON,                            )
                                               )
       Defendant.                              )

                                MEMORANDUM AND ORDER

       This matter comes before the Court on Defendant Charles Logsdon’s Amended Motion

to Modify Sentence pursuant to 18 U.S.C. § 3582(c)(2) (Doc. 386). The time for a response

brief has yet to lapse, but the Government need not file one.

       On June 1, 2004, Logsdon pled guilty to one count of conspiracy to manufacture,

distribute, and possess with intent to distribute 500 grams or more of methamphetamine. He was

sentenced to term of imprisonment of 137 months on the following September 9 by this Court.

       “Generally, a district court has no power to modify a sentence once it has been imposed.”

United States v. Jackson, 573 F.3d 398, 399 (7th Cir. 2009). Nevertheless, Logsdon argues that

his sentence should be reduced because “the court may reduce the term of imprisonment, after

considering the factors set forth in [Title 18,] section 3553(a) to the extent that they are

applicable, if such a reduction is consistent with the applicable policy statement issued by the

Sentencing Commission.” (Doc. 386, p. 1) (quoting 18 U.S.C. § 3582(c)(2) (2006)). However,

§ 3852(c)(2) is only meant to impact a defendant who “has been sentenced to a term of

imprisonment based on a sentencing range that has been subsequently lowered by the Sentencing

Commission . . . .” § 3582(c)(2).

       As the Court explained to Logsdon in its previous Memorandum and Order (Doc. 384),

the sentencing range as to the methamphetamine charge on which he was convicted and
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sentenced has not been lowered. Put simply, Logsdon’s reliance on § 3582(c)(2) is misplaced,

and he is without legal footing to request a reduction.

       For the foregoing reasons, the Court DISMISSES Logsdon’s Motion (Doc. 386) for lack

of jurisdiction.

IT IS SO ORDERED.
Dated: May 20, 2010
                                                                 s/ J. Phil Gilbert
                                                                 J. PHIL GILBERT
                                                                 DISTRICT JUDGE




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